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                       EXHIBIT G
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From: Maxim Litvak
Sent: Tuesday, September 26, 2023 5:12 PM
To: Matthew B. Stein ; Laura Davis Jones ; 'Dehney, Robert'
Cc: Edward E. Filusch ; Andrew H. Elkin ; David Bertenthal ; Timothy P. Cairns ; Robert Novick ; Mary F.
Caloway ; Richenderfer, Linda (USTP) ; Culver, Donna ; Briggs, Thomas
Subject: RE: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Matt:

As discussed over the weekend, your firm has a conflict here, so we will not address any substantive
case matters with you regarding the case.

Kasowitz actively represented AmeriFirst until just before the Petition Date, then challenged the ability
of the Debtors to file these cases after the Petition Date, and now is purporting to represent the
Committee in matters that are directly adverse to the Debtors. Kasowitz possesses privileged
information that belongs to AmeriFirst. Further, Kasowitz does not have AmeriFirst’s consent to
represent the Committee. As your email below reflects, you are already taking positions that are
adverse to the Debtors. Indeed, as far as we can tell, it is unprecedented for prepetition counsel to a
debtor to then seek to represent an unsecured creditors’ committee postpetition, particularly over the
former client’s (the debtor’s) objection. Indeed, Kasowitz’s engagement letters with AmeriFirst have not
even been terminated.

We will respond separately and in due course to Morris Nichols’ requests for information. We demand
that Kasowitz not share any privileged information of AmeriFirst with either the Committee or Morris
Nichols. If any such sharing has already occurred, please advise as to the specific nature of any
disclosures so that the Debtors can consider taking appropriate action. We will be sending a separate
demand for Kasowitz to promptly deliver its entire client file with AmeriFirst, including all privileged
information, to us.

Please advise with any questions. Regards, Max.


From: Matthew B. Stein [mailto:MStein@kasowitz.com]
Sent: Tuesday, September 26, 2023 6:35 AM
To: Laura Davis Jones <ljones@pszjlaw.com>; 'Dehney, Robert' <RDehney@morrisnichols.com>; Maxim
Litvak <mlitvak@pszjlaw.com>
Cc: Edward E. Filusch <EFilusch@kasowitz.com>; Andrew H. Elkin <AElkin@kasowitz.com>; David
Bertenthal <dbertenthal@pszjlaw.com>; Timothy P. Cairns <tcairns@pszjlaw.com>; Robert Novick
<rnovick@kasowitz.com>; Mary F. Caloway <mcaloway@pszjlaw.com>; Richenderfer, Linda (USTP)
<Linda.Richenderfer@usdoj.gov>; Culver, Donna <DCulver@morrisnichols.com>; Briggs, Thomas
<TBriggs@morrisnichols.com>
Subject: RE: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Laura:

When we spoke on Saturday, you indicated that you would revert to us on Sunday after you call with
Mr. Avila. As of this morning, we have not received any substantive update other than Max’s below
email, which is unacceptable on its face. Of course documents should be shared with MNAT and there
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should be no restriction on Rob sharing those documents with the UCC. The UCC absolutely entitled to
these documents – they are not privileged and no other impediment to production exists. Rather, it
appears that you are attempting to leverage a non‐existent conflict to prejudice the UCC. That is
unacceptable.

When we spoke on Saturday I indicated that given our prior representation of AFI, Kasowitz’ role in this
case would be limited to negotiations with the Debtors and would not take an adverse position on any
issue in any pleading. However, that does not impede (nor should it) efforts by the UCC to improve the
terms of the DIP against RCP. Indeed, on this issue, the Debtors should be aligned with the UCC as
improving the terms of the DIP is in the best interest of AFI’s estate. Moreover, nothing about our prior
role impedes ongoing involvement in necessary investigations against non‐Debtors, including (i) RCP, (ii)
former directors and officers, and (iii) current directors and officers.

Additionally, while you extended the UCC’s objection deadline until Wednesday, the Debtors still have
not filed a budget that extends past October 13. I had understood that these numbers were being
finalized when we spoke on Saturday; is there an update on this front?

Finally, so that the record is clear, we believe that the following documents should be shared with MNAT
and the UCC immediately as they relate to the committee’s efforts in connection with the DIP:
    1. All documents relating to each of the findings of fact in the proposed final DIP order
    2. Current version of DIP credit agreement
    3. Final DIP budget
    4. Assumptions and support for same in connection with final DIP budget
    5. UCC search results
    6. All communications between the Debtors (including all of their directors, officers, counsel, and
          other advisors regardless of capacity) and RCP.
    7. All Board presentations and minutes of AFI since 11am PT on August 24, 2023.
    8. A copy of your engagement letter with AFI.
    9. A copy of Paladin/Avila’s engagement letter with AFI.
    10. All communications regarding efforts to procure a DIP, alternative DIP proposals, presentations
          regarding the same.

Best, Matt

From: Laura Davis Jones <ljones@pszjlaw.com>
Sent: Sunday, September 24, 2023 7:24 PM
To: 'Dehney, Robert' <RDehney@morrisnichols.com>; Maxim Litvak <mlitvak@pszjlaw.com>
Cc: Matthew B. Stein <MStein@kasowitz.com>; Edward E. Filusch <EFilusch@kasowitz.com>; Andrew H.
Elkin <AElkin@kasowitz.com>; David Bertenthal <dbertenthal@pszjlaw.com>; Timothy P. Cairns
<tcairns@pszjlaw.com>; Robert M. Novick <RNovick@kasowitz.com>; Mary F. Caloway
<mcaloway@pszjlaw.com>
Subject: RE: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Jumping in – not right. Let’s keep this as clean as we can given the
situation.



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Laura Davis Jones
Pachulski Stang Ziehl & Jones LLP
Tel: 302.778.6401 | Cell: 302.547.3132 | Fax: 302.652.4400
ljones@pszjlaw.com
vCard | Bio | LinkedIn




Los Angeles | San Francisco | Wilmington, DE | New York | Houston




From: Dehney, Robert [mailto:RDehney@morrisnichols.com]
Sent: Sunday, September 24, 2023 7:13 PM
To: Maxim Litvak <mlitvak@pszjlaw.com>
Cc: Matthew B. Stein <MStein@kasowitz.com>; Laura Davis Jones <ljones@pszjlaw.com>; Edward E.
Filusch <EFilusch@kasowitz.com>; Andrew H. Elkin <AElkin@kasowitz.com>; David Bertenthal
<dbertenthal@pszjlaw.com>; Timothy P. Cairns <tcairns@pszjlaw.com>; Robert Novick
<rnovick@kasowitz.com>; Mary F. Caloway <mcaloway@pszjlaw.com>
Subject: Re: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Defer to Matt. But Max, I do not know why the any retention issues would impact MNAT sharing with
UCC members, right?

         Robert J. Dehney, Esquire
         MORRIS, NICHOLS, ARSHT & TUNNELL LLP
         1201 North Market Street, 16th Flr.
         P.O. Box 1347
         Wilmington, DE 19899‐1347
         Main Number: 302.658.9200
         Direct Dial: 302.351.9353
         Cell Number: 302.898.9312
         Fax Number: 302.425.4673
         Spelling and grammatical oddities are attributable to my iPhone!


On Sep 24, 2023, at 7:00 PM, Maxim Litvak <mlitvak@pszjlaw.com> wrote:


Folks, we are prepared to produce the prepetition loan documents and UCC search results only to
Morris Nichols, and will do so provided that such documents will be treated as professional eyes only
and will not be shared with Kasowitz or the Committee members until the pending retention issues are
addressed.



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Please advise if acceptable and we will proceed with the production. Thanks, Max.


From: Matthew B. Stein [mailto:MStein@kasowitz.com]
Sent: Friday, September 22, 2023 10:03 PM
To: Laura Davis Jones <ljones@pszjlaw.com>
Cc: Maxim Litvak <mlitvak@pszjlaw.com>; Dehney, Robert <RDehney@morrisnichols.com>; Edward E.
Filusch <EFilusch@kasowitz.com>; Andrew H. Elkin <AElkin@kasowitz.com>; David Bertenthal
<dbertenthal@pszjlaw.com>; Timothy P. Cairns <tcairns@pszjlaw.com>; Robert Novick
<rnovick@kasowitz.com>; Mary F. Caloway <mcaloway@pszjlaw.com>
Subject: RE: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Laura –

Yes – we are generally available tomorrow afternoon. Does 3pm work?

From: Laura Davis Jones <ljones@pszjlaw.com>
Sent: Friday, September 22, 2023 6:04 PM
To: Matthew B. Stein <MStein@kasowitz.com>
Cc: Maxim Litvak <mlitvak@pszjlaw.com>; Dehney, Robert <RDehney@morrisnichols.com>; Edward E.
Filusch <EFilusch@kasowitz.com>; Andrew H. Elkin <AElkin@kasowitz.com>; David Bertenthal
<dbertenthal@pszjlaw.com>; Timothy P. Cairns <tcairns@pszjlaw.com>; Robert M. Novick
<RNovick@kasowitz.com>; Mary F. Caloway <mcaloway@pszjlaw.com>
Subject: Re: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Hi. I am glad we could get there on the adjournment Following up on our earlier emails, is there a time
after 2 pm tomorrow for us to have a call?

Laura Davis Jones
Pachulski Stang Ziehl & Jones LLP
919 North Market Street
17th Floor
Wilmington, DE. 19801
Direct Dial: 302.778.6401
Cell: 302.547.3132
Email: ljones@pszjlaw.com

On Sep 22, 2023, at 5:41 PM, Matthew B. Stein <MStein@kasowitz.com> wrote:


Max,

Yes, this is acceptable. We will have other information requests shortly, but can you guys send us a copy
of the DIP credit agreement? Also, when do you anticipate filing the relevant budget? Thank you.

Best, Matt

From: Maxim Litvak <mlitvak@pszjlaw.com>


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Sent: Friday, September 22, 2023 4:57 PM
To: Matthew B. Stein <MStein@kasowitz.com>; Dehney, Robert <RDehney@morrisnichols.com>
Cc: Laura Davis Jones <ljones@pszjlaw.com>; Edward E. Filusch <EFilusch@kasowitz.com>; Andrew H.
Elkin <AElkin@kasowitz.com>; David Bertenthal <dbertenthal@pszjlaw.com>; Timothy P. Cairns
<tcairns@pszjlaw.com>; Robert M. Novick <RNovick@kasowitz.com>; Mary F. Caloway
<mcaloway@pszjlaw.com>
Subject: RE: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

We heard from RCP that they will consent to the one week extension of the DIP milestone, provided
that the Committee’s objection deadline for the DIP motion will be Wednesday, Sept. 27 at 5 pm ET.

Please confirm that is acceptable. Thanks, Max.


From: Matthew B. Stein [mailto:MStein@kasowitz.com]
Sent: Friday, September 22, 2023 12:46 PM
To: Maxim Litvak <mlitvak@pszjlaw.com<mailto:mlitvak@pszjlaw.com>>; Dehney, Robert
<RDehney@morrisnichols.com<mailto:RDehney@morrisnichols.com>>
Cc: Laura Davis Jones <ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>>; Edward E. Filusch
<EFilusch@kasowitz.com<mailto:EFilusch@kasowitz.com>>; Andrew H. Elkin
<AElkin@kasowitz.com<mailto:AElkin@kasowitz.com>>; David Bertenthal
<dbertenthal@pszjlaw.com<mailto:dbertenthal@pszjlaw.com>>; Timothy P. Cairns
<tcairns@pszjlaw.com<mailto:tcairns@pszjlaw.com>>; Robert Novick
<rnovick@kasowitz.com<mailto:rnovick@kasowitz.com>>; Mary F. Caloway
<mcaloway@pszjlaw.com<mailto:mcaloway@pszjlaw.com>>
Subject: RE: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Max,

I caught up with Rob. We are all on the same page. Let us know when you hear back from the lender on
the milestone.

Best, Matt

From: Maxim Litvak <mlitvak@pszjlaw.com<mailto:mlitvak@pszjlaw.com>>
Sent: Friday, September 22, 2023 2:41 PM
To: Dehney, Robert <RDehney@morrisnichols.com<mailto:RDehney@morrisnichols.com>>
Cc: Matthew B. Stein <MStein@kasowitz.com<mailto:MStein@kasowitz.com>>; Laura Davis Jones
<ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>>; Edward E. Filusch
<EFilusch@kasowitz.com<mailto:EFilusch@kasowitz.com>>; Andrew H. Elkin
<AElkin@kasowitz.com<mailto:AElkin@kasowitz.com>>; David Bertenthal
<dbertenthal@pszjlaw.com<mailto:dbertenthal@pszjlaw.com>>; Timothy P. Cairns
<tcairns@pszjlaw.com<mailto:tcairns@pszjlaw.com>>; Robert M. Novick
<RNovick@kasowitz.com<mailto:RNovick@kasowitz.com>>; Mary F. Caloway
<mcaloway@pszjlaw.com<mailto:mcaloway@pszjlaw.com>>
Subject: RE: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Hey Rob, we’re trying to work with you here, but this request did not come our way until last night. We


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have a DIP milestone that needs to get moved, so let me continue to work on that. I made the request
to RCP to push it assuming no additional funding in excess of our interim authority.

If we do determine that additional funding is necessary, then we would just like your support with
regard to a further interim order.

In the meantime, let’s give RCP a little time to respond please. Thanks, Max.



From: Dehney, Robert [mailto:RDehney@morrisnichols.com]
Sent: Friday, September 22, 2023 11:13 AM
To: Maxim Litvak <mlitvak@pszjlaw.com<mailto:mlitvak@pszjlaw.com>>
Cc: Matthew B. Stein <MStein@kasowitz.com<mailto:MStein@kasowitz.com>>; Laura Davis Jones
<ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>>; Edward E. Filusch
<EFilusch@kasowitz.com<mailto:EFilusch@kasowitz.com>>; Andrew H. Elkin
<AElkin@kasowitz.com<mailto:AElkin@kasowitz.com>>; David Bertenthal
<dbertenthal@pszjlaw.com<mailto:dbertenthal@pszjlaw.com>>; Timothy P. Cairns
<tcairns@pszjlaw.com<mailto:tcairns@pszjlaw.com>>; Robert Novick
<rnovick@kasowitz.com<mailto:rnovick@kasowitz.com>>; Mary F. Caloway
<mcaloway@pszjlaw.com<mailto:mcaloway@pszjlaw.com>>
Subject: Re: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Max, I thank we need to know now it is being kicked so nobody is jammed or has to call Danielle. My
view, if debtors need additional borrowing during the one week adjournment that seems easy. You are
already limited by what was approved on the first day and second days are a week later so the money
out the door by definition is limited to first days and ongoing. Also if the milestone is tied to a final
budget and nobody has it, seems like a good reason to kick the date.
Robert J. Dehney, Esquire
MORRIS, NICHOLS, ARSHT & TUNNELL LLP
1201 North Market Street, 16th Flr.
P.O. Box 1347
Wilmington, DE 19899‐1347
Main Number: 302.658.9200
Direct Dial: 302.351.9353
Cell Number: 302.898.9312
Fax Number: 302.425.4673
Spelling and grammatical oddities are attributable to my iPhone!

On Sep 22, 2023, at 1:53 PM, Maxim Litvak <mlitvak@pszjlaw.com<mailto:mlitvak@pszjlaw.com>>
wrote:

Not sure. Need RCP to OK an adjournment because we have a milestone on Sept. 28 for entry of final
DIP order and to approve the Budget, which is being worked on.


From: Matthew B. Stein [mailto:MStein@kasowitz.com]
Sent: Friday, September 22, 2023 10:38 AM


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To: Maxim Litvak <mlitvak@pszjlaw.com<mailto:mlitvak@pszjlaw.com>>; Laura Davis Jones
<ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>>
Cc: Edward E. Filusch <EFilusch@kasowitz.com<mailto:EFilusch@kasowitz.com>>; Andrew H. Elkin
<AElkin@kasowitz.com<mailto:AElkin@kasowitz.com>>; Dehney, Robert
<RDehney@morrisnichols.com<mailto:RDehney@morrisnichols.com>>; David Bertenthal
<dbertenthal@pszjlaw.com<mailto:dbertenthal@pszjlaw.com>>; Timothy P. Cairns
<tcairns@pszjlaw.com<mailto:tcairns@pszjlaw.com>>; Robert Novick
<rnovick@kasowitz.com<mailto:rnovick@kasowitz.com>>; Mary F. Caloway
<mcaloway@pszjlaw.com<mailto:mcaloway@pszjlaw.com>>
Subject: RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Maxim –
Just so I am clear – are we agreeing to adjourn only subject to determining whether additional funding is
required as part of a supplemental interim DIP or is a determination of whether to adjourn contingent
on whether additional funding is required? Please let us know.

Best, Matt

From: Maxim Litvak <mlitvak@pszjlaw.com<mailto:mlitvak@pszjlaw.com>>
Sent: Friday, September 22, 2023 12:44 PM
To: Matthew B. Stein <MStein@kasowitz.com<mailto:MStein@kasowitz.com>>; Laura Davis Jones
<ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>>
Cc: Edward E. Filusch <EFilusch@kasowitz.com<mailto:EFilusch@kasowitz.com>>; Andrew H. Elkin
<AElkin@kasowitz.com<mailto:AElkin@kasowitz.com>>; Dehney, Robert
<RDehney@morrisnichols.com<mailto:RDehney@morrisnichols.com>>; David Bertenthal
<dbertenthal@pszjlaw.com<mailto:dbertenthal@pszjlaw.com>>; Timothy P. Cairns
<tcairns@pszjlaw.com<mailto:tcairns@pszjlaw.com>>; Robert M. Novick
<RNovick@kasowitz.com<mailto:RNovick@kasowitz.com>>; Mary F. Caloway
<mcaloway@pszjlaw.com<mailto:mcaloway@pszjlaw.com>>
Subject: RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

We’re trying to determine on our end whether any additional funding is necessary. Budget review is in
process. I’m not sure how long that will take, but probably the better part of today. And then we will
need to run the Budget by RCP, but we will keep you updated. Regards, Max.


From: Matthew B. Stein [mailto:MStein@kasowitz.com]
Sent: Friday, September 22, 2023 9:40 AM
To: Maxim Litvak <mlitvak@pszjlaw.com<mailto:mlitvak@pszjlaw.com>>; Laura Davis Jones
<ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>>
Cc: Edward E. Filusch <EFilusch@kasowitz.com<mailto:EFilusch@kasowitz.com>>; Andrew H. Elkin
<AElkin@kasowitz.com<mailto:AElkin@kasowitz.com>>; Dehney, Robert
<RDehney@morrisnichols.com<mailto:RDehney@morrisnichols.com>>; David Bertenthal
<dbertenthal@pszjlaw.com<mailto:dbertenthal@pszjlaw.com>>; Timothy P. Cairns
<tcairns@pszjlaw.com<mailto:tcairns@pszjlaw.com>>; Robert Novick
<rnovick@kasowitz.com<mailto:rnovick@kasowitz.com>>; Mary F. Caloway
<mcaloway@pszjlaw.com<mailto:mcaloway@pszjlaw.com>>
Subject: RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)


                                                    7
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Maxim,

Thank you. This is acceptable; however, the Committee would like the opportunity to review whether
additional financing is necessary during the additional week. Please send us a reconciliation comparing
actuals with the existing budget so that we can weigh in if necessary.

Best, Matt

From: Maxim Litvak <mlitvak@pszjlaw.com<mailto:mlitvak@pszjlaw.com>>
Sent: Friday, September 22, 2023 12:27 PM
To: Laura Davis Jones <ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>>; Matthew B. Stein
<MStein@kasowitz.com<mailto:MStein@kasowitz.com>>
Cc: Edward E. Filusch <EFilusch@kasowitz.com<mailto:EFilusch@kasowitz.com>>; Andrew H. Elkin
<AElkin@kasowitz.com<mailto:AElkin@kasowitz.com>>; Dehney, Robert
<RDehney@morrisnichols.com<mailto:RDehney@morrisnichols.com>>; David Bertenthal
<dbertenthal@pszjlaw.com<mailto:dbertenthal@pszjlaw.com>>; Timothy P. Cairns
<tcairns@pszjlaw.com<mailto:tcairns@pszjlaw.com>>; Robert M. Novick
<RNovick@kasowitz.com<mailto:RNovick@kasowitz.com>>; Mary F. Caloway
<mcaloway@pszjlaw.com<mailto:mcaloway@pszjlaw.com>>
Subject: RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Matt:

Laura asked me to respond. We spoke to the CRO.

We will ask RCP to consent to an extension of the final DIP hearing and related milestone to Oct. 2 when
we already have an omnibus hearing set, provided that the Committee agrees to a further interim DIP
order and additional funding authority under the DIP in excess of the interim authority if that is
necessary for the extra week.

Is that agreeable? Thanks, Max.



From: Laura Davis Jones
Sent: Friday, September 22, 2023 9:00 AM
To: Matthew B. Stein <MStein@kasowitz.com<mailto:MStein@kasowitz.com>>
Cc: Edward E. Filusch <EFilusch@kasowitz.com<mailto:EFilusch@kasowitz.com>>; Andrew H. Elkin
<AElkin@kasowitz.com<mailto:AElkin@kasowitz.com>>; Dehney, Robert
<RDehney@morrisnichols.com<mailto:RDehney@morrisnichols.com>>; David Bertenthal
<dbertenthal@pszjlaw.com<mailto:dbertenthal@pszjlaw.com>>; Timothy P. Cairns
<tcairns@pszjlaw.com<mailto:tcairns@pszjlaw.com>>; Maxim Litvak
<mlitvak@pszjlaw.com<mailto:mlitvak@pszjlaw.com>>; Robert Novick
<rnovick@kasowitz.com<mailto:rnovick@kasowitz.com>>
Subject: Re: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Thanks Matt.


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Checking with Scott now. Will follow up shortly.
Laura Davis Jones
Pachulski Stang Ziehl & Jones LLP
919 North Market Street
17th Floor
Wilmington, DE. 19801
Direct Dial: 302.778.6401
Cell: 302.547.3132
Email: ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>

On Sep 22, 2023, at 11:52 AM, Matthew B. Stein
<MStein@kasowitz.com<mailto:MStein@kasowitz.com>> wrote:

Laura –
A response would be appreciated.

Best, Matt

From: Matthew B. Stein
Sent: Thursday, September 21, 2023 9:48 PM
To: 'Laura Davis Jones' <ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>>
Cc: Edward E. Filusch <EFilusch@kasowitz.com<mailto:EFilusch@kasowitz.com>>; Andrew H. Elkin
<AElkin@kasowitz.com<mailto:AElkin@kasowitz.com>>; 'Dehney, Robert'
<RDehney@morrisnichols.com<mailto:RDehney@morrisnichols.com>>; David Bertenthal
<dbertenthal@pszjlaw.com<mailto:dbertenthal@pszjlaw.com>>; Timothy P. Cairns
<tcairns@pszjlaw.com<mailto:tcairns@pszjlaw.com>>; Maxim Litvak
<mlitvak@pszjlaw.com<mailto:mlitvak@pszjlaw.com>>
Subject: RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Laura,

First off, congratulations on your honor tonight at Tina’s Wish.

Second, I want to follow‐up on our request to have an initial meeting with the Debtors. Given our recent
retention and the exceptionally short time between now and the scheduled final hearing on the DIP next
Tuesday, we think that it makes the most sense to adjourn the final hearing on the Debtors’ DIP motion
until October 2 when the other first day motions will be heard. I do not believe that the Debtors will
suffer any prejudice from such extension. I would note that the existing budget filed with the Court
extends through the week ending 10/13 and that we understand that the Debtors have sufficient cash
from the proceeds of the interim funding to fund the business through then. Additionally, based on my
quick review I have not seen a budget that extends past 10/13 or a copy of the DIP financing agreement
filed on the docket.

Further, I think we can use the extra week to see if we can get to a consensus on the DIP as well as the
other relief that the Debtor seeks entered at the October 2 hearing. My schedule is flexible tomorrow
and over most of the weekend; I am out of pocket from Sunday at 6pm until Monday at 8pm or so.



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Please let me know when we can connect and whether you consent to the requested adjournment.

Best, Matt

From: Laura Davis Jones <ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>>
Sent: Thursday, September 21, 2023 11:51 AM
To: Matthew B. Stein <MStein@kasowitz.com<mailto:MStein@kasowitz.com>>
Cc: Edward E. Filusch <EFilusch@kasowitz.com<mailto:EFilusch@kasowitz.com>>; Andrew H. Elkin
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Subject: RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)


________________________________

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ATTACHMENT UNLESS YOU KNOW THAT THE MESSAGE CAME FROM A SAFE EMAIL ADDRESS.


________________________________
________________________________
Sorry – dropped everyone except Matt –

See below.

Laura Davis Jones
Pachulski Stang Ziehl & Jones LLP
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From: Laura Davis Jones
Sent: Thursday, September 21, 2023 11:48 AM
To: 'Matthew B. Stein' <MStein@kasowitz.com<mailto:MStein@kasowitz.com>>
Subject: RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Today is not good. I will follow up with some proposed times tomorrow or over the weekend.

Laura Davis Jones
Pachulski Stang Ziehl & Jones LLP


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From: Matthew B. Stein [mailto:MStein@kasowitz.com]
Sent: Thursday, September 21, 2023 9:27 AM
To: Laura Davis Jones <ljones@pszjlaw.com<mailto:ljones@pszjlaw.com>>; David Bertenthal
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Subject: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Laura,

We, together with Rob Dehney, have been selected by the official committee of unsecured creditors to
represent it in AmeriFirst. Do you have time this afternoon for an initial meeting to discuss the case? I
am generally available after 1pm today other than from 3:30‐4. Thank you.

Best, Matt

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